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FILED IN OPEN COURT

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UNITED STATES DISTRICT COURT ierk y 5. pistRi¢T COURT

 

 

 

for the MIDDLE DISTRICT OF FLORIDA
Middle District of Florida JACKSONVILLE, FLORIDA
United States of America )
v. )
CHARLES LELANDE BOSTON ) Case No. 4 b- S RK
) 3:21-mj- }
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 31, 2021 and April 3, 2021 in the county of Clay in the
Middle District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 2252(a)(2) and (b)(1) Distribution of child pornography

This criminal complaint is based on these facts:

See affidavit.

a Continued on the attached sheet.

ba A =
‘omplainant S§ signature

Ashley Wilson, HSI Special Agent

Printed name and title

 

 

Sworn to before me and signed in my presence.

Date: A®-\2- 2Zo2\ (\ K K LA

Judge's signature

 

City and state: Jacksonville, Florida fam s R. Klindt, United States Magistrate Judge

Printed name and title
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AFFIDAVIT IN SUPPORT OF COMPLAINT

I, Ashley Wilson, being duly sworn, hereby state as follows:
1. Iam a Special Agent (SA) with Immigration and Customs Enforcement
(ICE), Homeland Security Investigations (HSI), an agency of the United States
Department of Homeland Security (DHS), and have been so employed since October
2007. Iam currently assigned to the Office of the Assistant Special Agent in Charge
Jacksonville, Florida, where I conduct a variety of investigations. Prior to this
assignment, I was assigned to the Office of the Deputy Special Agent in Charge
Laredo, Texas for approximately 6 years also as a Special Agent. I have a Bachelor’s
degree in Criminal Justice. I am a law enforcement officer of the United States and
am thus authorized by law to engage in or supervise the prevention, detection,
investigation or prosecution of violations of federal criminal law. I am responsible for
enforcing federal criminal statutes under the jurisdiction of HSI, including violations
of law involving the exploitation of children. I participated in a 22-week training
program at the Federal Law Enforcement Training Center in Brunswick, Georgia,
which included the Criminal Investigator Training Program and ICE Special Agent
Training. In my capacity as a Special Agent, I have participated in numerous types of
investigations, during which I conducted or participated in physical surveillance,
undercover transactions and operations, historical investigations, and other complex

investigations. Since becoming a Special Agent, I have worked with experienced

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Special Agents and state and local law enforcement officers who also investigate
child exploitation offenses.

A I have investigated and assisted in the investigation of criminal matters
involving the sexual exploitation of children that constituted violations of 18 U.S.C.
8§ 2251, 2252, 2252A, 2422, and 2423, as well as Florida state statutes that
criminalize sexual activity with minors and other methods of child sexual
exploitation. In connection with such investigations, I have served as case agent and
have served as an undercover agent in online child exploitation cases. During the
course of my investigations, I have worked closely with members of the local child
exploitation task force comprised of agents and officers from HSI, the Federal
Bureau of Investigation (FBI), the Florida Department of Law Enforcement (FDLE),
the Jacksonville Sheriff's Office (JSO), the St. Johns County Sheriff's Office (SJSO),
and the Clay County Sheriff's Office (CCSO), among other agencies. These agencies
routinely share information involving the characteristics of child sex offenders as well
as investigative techniques and leads. As a federal agent, I am authorized to
investigate and assist in the prosecution of violations of laws of the United States,
and to execute search warrants and arrest warrants issued by federal and state courts.

3: The statements contained in this affidavit are based on my personal
knowledge as well as on information provided to me by other law enforcement

officers. This affidavit is being submitted for the limited purpose of establishing

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probable cause for the filing of a criminal complaint, and I have not included each
and every fact known to me concerning this investigation. I have set forth only the
facts that I believe are necessary to establish probable cause that Charles Lelande
BOSTON has committed a violation of 18 U.S.C. §2252(a)(2) and (b)(1)
(distribution of a visual depiction using any means and facility of interstate and
foreign commerce, that is via the internet, the production of which involved the use
of a minor engaging in sexually explicit conduct).

4. This affidavit is made in support of a complaint against Charles Lelande
BOSTON, that is, in Clay County, in the Middle District of Florida and elsewhere,
on or about January 31, 2021 and April 3, 2021, BOSTON did knowingly distribute
a visual depiction using any means and facility of interstate and foreign commerce,
when the production of the visual depiction involved the use of a minor engaging in
sexually explicit conduct, and the visual depiction was of such conduct in violation
of 18 U.S.C. § 2252(a)(2) and (b)(1).

oe On August 11, 2021, I applied for and obtained a federal search warrant
for the residence located at 606 Park Avenue, Apt. 604, Orange Park, FL 32073,
which I believed to be occupied by BOSTON, and a copy of which is attached hereto

as Exhibit A, and the facts and information contained therein are hereby

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incorporated by reference.'

6. In the morning of August 12, 2021, HSI Jacksonville Special Agents,
along with the Clay County Sheriff's Office and the Orange Park Police Department,
executed the aforementioned search warrant at approximately 6:05 a.m. at 606 Park
Avenue, Apt. 604, Orange Park, FL 32073.

ds During the search of BOSTON’s apartment, HSI special agents
discovered a Cybertron desktop computer on the floor in his bedroom. The desktop
computer contained a Toshiba hard drive with the capacity to store 1 TB of data and
was manufactured in China.

8. Clay County Sheriff's Detective and HSI Task Force Officer Ryan Ellis
and I made contact with BOSTON. After being advised of and waiving his Miranda
rights, BOSTON agreed to speak with us. I recorded the interview. During the
interview, I showed a picture of two desktop computers that were on the floor in his
bedroom. One of the two desktop computers was the Cybertron. When asked if the
two desktop computers are still functioning, BOSTON stated, “they’re old, um, we
don’t use them, um, they uh, we planned on getting rid of them, just haven’t done so
yet.” BOSTON denied being familiar with peer-to-peer file sharing. BOSTON

admitted to viewing adult pornography and using Internet websites to obtain it.

 

' The copy has been redacted to redact personal identifying information

consistent with Fed. R. Crim. P. 49.1.
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BOSTON was asked about child pornography and initially denied viewing it.
BOSTON described child pornography as “underage pornography” and when asked
if he had seen it, he terminated the interview. BOSTON was overheard by law
enforcement telling his mother “I’m sorry” when he made contact with her following
his interview with law enforcement. He was also overheard telling his mother when
the search warrant was initially executed she asked why “Homeland Security” was at
the home, he stated that they were probably there for him.

9, A preliminary examination of the Cybertron desktop computer on
scene by Computer Forensic Analyst Tony Contes during the execution of the search
warrant revealed the uTorrent software, which is known to use the BitTorrent
protocol and the following two video files” located in the Recycle Bin:

SRIT7TWCO6 (1! NEW I! 2010 | Syo - chunk2 FK pthc best)
$RO49HPU ((Hussyfan Pthc R@ Ygold Babyshivid) MA 8 Yo)

10. I reviewed the two video files listed above and learned the video files do
not play the full length, but the portions I am able to view depict the same child
sexual abuse material as portions of the complete files that HSI TFO directly
received from a device at IP address 73.53.216.240 on January 31, 2021, and April 3,

2021, referenced in Exhibit A. Additionally, the two video files listed above contain

 

* The complete names of the files have been redacted to remove the full

identification of the purported name of the respective victim depicted.
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the same file name and are the same size as the video files that HSI TFO directly
received from a device at IP address 73.53.216.240 on January 31, 2021, and April 3,
2021, referenced in Exhibit A. I described the video file with the file name /// NEW J!/
2010 Al Syo - chunk2 FK pthc best.avi in paragraph 50 of Exhibit A and (Hussyfan Pthe
R@Ygold Babyshivid) vie 8Yo.avi in paragraph 55 of Exhibit A. Based on my
training and experience, and the fact that they appear to depict children previously
identified by law enforcement, I believe both files depict at least one minor engaged
in sexually explicit conduct, and therefore constitute child pornography pursuant to
Title 18, United States Code, Section 2256.

11. <A preliminary examination of the Cybertron desktop computer on
scene by Computer Forensic Analyst Tony Contes, during the execution of the
search warrant also revealed folders under the username “Chuck,” within the
“Downloads” folder on his desktop, subfolders labeled as “11 yo,” “12 yo,” “13 yo,”
“14 yo,” “I5yo,” and “16 yo.” The review is ongoing but, contained within these
files, were several still images that appear to be consistent with child pornography,
which I also reviewed. One image contained within the “11 yo” folder depicted a
prepubescent child partially nude displaying her vagina, which was the focus of the
image. Several images were close-up depictions of the vagina of the prepubescent

child.
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12. Ispoke with BOSTON’s fiancée, Carrie Daniels, and was joined by HSI
SA Tony Algozzini and Clay County Sheriff’s Office Deputy Ben Simmons. Daniels
identified the Cybertron desktop computer as a computer she and BOSTON
previously used until approximately April or May of this year when they purchased a
new computer. Daniels told me that she used the Cybertron desktop computer to
connect to the Internet to use the streaming services Hulu and Netflix. Based on my
training and experience, I know the streaming services Hulu and Netflix require a
connection to the Internet to access the services. Daniels also told me that BOSTON
regularly used the Cybertron desktop computer and that she and BOSTON were the
only users of the computer.

13. I know the Internet is a vehicle of interstate commerce.

14. Based on the recorded statement of Daniels, my preview of the files
found on the computer used by BOSTON as compared to the files distributed via
BitTorrent, and my investigation, I have probable cause to believe that BOSTON
distributed visual depictions of at least one minor engaged in sexually explicit
conduct on or about January 31, 2021, and April 3, 2021.

CONCLUSION

11. Based upon the foregoing facts, and including those facts set forth in

Exhibit A, I have probable cause to believe that, on or about January 31, 2021 and

April 3, 2021, Charles LeLande BOSTON committed the following violation of
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federal law: knowing distribution of a visual depiction using any means and facility
of interstate and foreign commerce, when the production of the visual depiction
involved the use of a minor engaging in sexually explicit conduct, and the visual

depiction was of such conduct in violation of 18 U.S.C. § 2252(a)(2) and (b)(1).

Mb)

Ashley W1 sors Special Agent
Homeland Security Investigations

Sworn to before me this
this [2** day of August, 2021

Qe A. KA WUE

JAMES R. KLINDT
United States Magistrate Judge

 
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Exhibit A
Case 3:21-mj-01386-JRK Document1 Filed 08/12/21 Page 11 of 66 Page” it
e¢ alan

 

AQ 106A (08/18) Application fora Warrant by Telephone or Other Reliable Electronic Means

 

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

In the Matter of the Search of ©
(Briefly describe the property to be searched
or identify the person by name and adedyess)

The residence located at 606 Park Avenue, Apartment
604, Orange Park, Florida 32073, as further described in
Attachment A

Case No. 3:21-mj- (44 1 ~ J L K

APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

1, a federal law enforcement officer or an attorney for the government, request a search warrant and state under

penalty of perjury that T have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give ils location):

the residence located at 606 Park Avenue, Apartment 604, Orange Park, Florida 32073, as further described iin
Attachment A,

  
  

 

 

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located in the Middle —_—dDistrictof _ Florida _ , there is now concealed (icBptifeihe 4
person or describe the pr oper ty fo be seiz ed): ef 2 S
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See Attachment B. 2 6 9
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. : Fre Y
The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more): = a a ce
# evidence of a crime; 5 oon
' + ' . Ww o> We Q
& contraband, fruits of crime, or other items illegally possessed; me Own
; ‘ va: . eOy w
wf property designed for use, intended for use, or used in commilting a crime; 9 ~ ee G
(J a person to be arrested or a person who is unlawfully restrained. ua “so tn
oc a
The search is related to a violation of: a S &
z Re
Cade Section Offense Description = bd S
18 U.S.C. §§ 2252 & 2252A Receipt, transportation, possession, and distribution of child exploitation Geeriat
W <<
The application is based on these facts:
See attached affidavit.
Continued on the attached sheet.
O Delayed notice of ___ days (give exact ending date ifmore than 30 days: ) is requested under
18 U.S.C. § 3103a, the basis of which is set forth on the attached s
_ Ay licant's signature
_ Ashley Wilson, HS! Special Agent
Printed name and ttle
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
and 41(d)(3) over the telephone. (specify reliable electronic means).
Date: Gn-th- Acs - WL Ks fe
Jhuige st ature! Py, pe
City and state; Jacksonville, Florida , James R. Klindt, United AY, Magistrate Judge

 

 

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AFFIDAVIT IN SUPPORT OF A SEARCH WARRANT

 

I, Ashley Wilson, being duly sworn, hereby state as follows:

1, Tam a Special Agent (SA) with Immigration and Customs Enforcement (ICE),
Homeland Security Investigations (HSI), an agency of the United States Department of
Homeland Security (DHS), and have been so employed since October 2007. I am currently
assigned to the Office of the Assistant Special Agent in Charge Jacksonville, Florida, where
I conduct a variety of investigations. Prior to this assignment, I was assigned to the Office
of the Deputy Special Agent in Charge Laredo, Texas for approximately 6 years also as a
Special Agent. I have a Bachelor’s degree in Criminal Justice. I am a law enforcement
officer of the United States and am thus authorized by law to engage in or supervise the
prevention, detection, investigation or prosecution of violations of federal criminal law. I
am responsible for enforcing federal criminal statutes under the jurisdiction of HSI,
including violations of law involving the exploitation of children. I participated in a 22-week
training program at the Federal Law Enforcement Training Center in Brunswick, Georgia,
which included the Criminal Investigator Training Program and ICE Special Agent
Training. In my capacity as a Special Agent, I have participated in numerous types of
investigations, during which I conducted or participated in physical surveillance,
undercover transactions and operations, historical investigations, and other complex
investigations. Since becoming a Special Agent, I have worked with experienced Special

Agents and state and local law enforcement officers who also investigate child exploitation

offenses,

2. I have investigated and assisted in the investigation of criminal matters

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involving the sexual exploitation of children that constituted violations of 18 U.S.C.
§§ 2251, 2252, 2252A, 2422, and 2423, as well as Florida state statutes that criminalize
sexual activity with minors and other methods of child sexual exploitation. In connection
with such investigations, I have served as the case agent and have served as an undercover
agent in online child exploitation cases. During the course of my investigations, I have
worked closely with members of the local child exploitation task force comprised of agents
and officers, from HSI, the Federal Bureau of Investigation (FBI), the Florida Department
of Law Enforcement (FDLE), the Jacksonville Sheriff's Office (JSO), the St. Johns County
Sheriff's Office (SJSO), and the Clay County Sheriff's Office (CCSO), among other agencies.
These agencies routinely share information involving the characteristics of child sex
offenders as well as investigative techniques and leads. As a federal agent, I am authorized
to investigate and assist in the prosecution of violations of laws of the United States, and to
execute search warrants and arrest warrants issued by federal and state courts.

o This affidavit is based upon my personal knowledge, experience and training,
as well as other information developed during the course of this investigation. Because this
affidavit is being submitted for the limited purpose of establishing probable cause and
securing a search warrant, I have not included each and every fact known to me concerning
this investigation. I have set forth only the facts that I believe are necessary to establish
probable cause to believe that contraband, fruits, instrumentalities, other items illegally

possessed and evidence of violations of 18 U.S.C. §§ 2252 and/or 2252A, are present in the

location to be searched,

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4. I am requesting authority to search the residence specifically identified in
Attachment A, which includes the physical structure, as well as any computer and computer
media and electronic storage devices located therein. I also request to seize any and all items
listed in Attachment B as instrumentalities, fruits, and/or evidence of criminal activity
specified herein.

STATUTORY AUTHORITY

ay This investigation concerns alleged violations of 18 U.S.C. §§ 2252 and
2252A, relating to material involving the sexual exploitation of minors. Based upon my
training and experience, as well as conversations with other experienced law enforcement
officers, computer forensic examiners, and federal prosecutors, I know the following:

a. 18 U.S.C. § 2252(a) in pertinent part prohibits a person from knowingly
transporting, shipping, receiving, distributing, reproducing for distribution, possessing or
accessing with intent to view any visual depiction of minors engaging in sexually explicit
conduct using any means or facility of interstate or foreign commerce or in or affecting
interstate or foreign commerce, including by computer or mails.

b. 18 U.S.C. § 2252A(a) in pertinent part prohibits a person from
knowingly transporting, shipping, receiving, distributing, reproducing for distribution,
possessing, or accessing with intent to view any child pornography, as defined in 18 U.S.C.
§ 2256(8), using any means or facility of interstate or foreign commerce or in or affecting
interstate or foreign commerce, including by computer.

i 18 U.S.C. § 2252(a)(1) prohibits a person from knowingly transporting

or shipping using any means or facility of interstate or foreign commerce or in or affecting
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interstate or foreign commerce, including by computer or mails, any visual depiction of
minors engaging in sexually explicit conduct. Under 18 U.S.C. § 2252(a)(2), it is a federal
crime for any person to knowingly receive or distribute, by any means including by
computer, any visual depiction of minors engaging in sexually explicit conduct using any
means or facility of interstate or foreign commerce or that has been mailed or shipped or
transported in or affecting interstate or foreign commerce. That section also makes it a
federal crime for any person to knowingly reproduce any visual depiction of minors
engaging in sexually explicit conduct for distribution using any means or facility of interstate
or foreign commerce or in or affecting interstate or foreign commerce or through the mails.
Under 18 U.S.C. § 2252(a)(4), it is also a crime for a person to knowingly possess or
knowingly access with intent to view, one or more books, magazines, periodicals, films, or
other materials which contain visual depictions of minors engaged in sexually explicit
conduct that have been mailed, or have been shipped or transported using any means or
facility of interstate or foreign commerce or in and affecting interstate or foreign commerce,
or which were produced using materials which have been mailed or so shipped or
transported, by.any means including by computer.

d. 18 U.S.C. § 2252A(a)(1) prohibits a person from knowingly mailing,
transporting, or shipping using any means or facility of interstate or foreign commerce or in
or affecting interstate or foreign commerce by any means, including by computer, any child
pornography. 18 U.S.C. § 2252A(a)(2) prohibits a person from knowingly receiving or
distributing any child pornography that has been mailed or shipped or transported using

any means or facility of interstate or foreign commerce or in or affecting interstate or foreign
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commerce by any means, including by computer. 18 U.S.C. § 2252A(a)(3) prohibits a
person from knowingly reproducing child pornography for distribution through the mails
or in or affecting interstate or foreign commerce by any means, including by computer. 18
U.S.C. § 2252A(a)(5)(B) prohibits a person from knowingly possessing or knowingly
accessing with intent to view any book, magazine, periodical, film, videotape, computer
disk, or other material that contains an image of child pornography that has been mailed,
or shipped or transported using any means or facility of interstate or foreign commerce or
in or affecting interstate or foreign commerce by any means, including by computer, or that
was produced using materials that have been mailed, or shipped or transported using any
means or facility of interstate or foreign commerce or in or affecting interstate or foreign
commerce by any means, including by computer,
DEFINITIONS
6, The following definitions apply to this Affidavit:

a. “Child erotica,” as used herein, means materials or items that are sexually
arousing to persons having a sexual interest in minors but that are not, in and of themselves,
illegal or that do not necessarily depict minors in sexually explicit poses or positions.

b. “Child pornography,” as used herein, includes the definitions in 18 U.S.C. 8§
2256(8) and 2256(9) (any visual depiction of sexually explicit conduct where (a) the
production of the visual depiction involved the use of a minor engaged in sexually explicit
conduct, (b) the visual depiction is a digital image, computer image, or computer generated
image that is, or is indistinguishable from, that of a minor engaged in sexually explicit

conduct, or (c) the visual depiction has been created, adapted, or modified to appear that an

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identifiable minor is engaged in sexually explicit conduct). See 18 U.S.C. §§ 2252 and
2256(2).

c, “Visual depictions” include undeveloped film and videotape, data stored on
computer disk or by electronic means which is capable of conversion into a visual image,
and data which is capable of conversion into a visual image that has been transmitted by
any means, whether or not stored in permanent format. See 18 U.S.C. § 2256(5).

d. “Sexually explicit conduct” means actual or simulated (a) sexual intercourse,
including genital-genital, oral-genital, anal-genital, or oral-anal, whether between persons
of the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic abuse;
or (e) lascivious exhibition of the genitals or pubic area of any persons. See 18 U.S.C. §
2256(2).

e. “Computer,” as used herein, is defined pursuant to 18 U.S.C. § 1030(e)(1), as
“an electronic, magnetic, optical, electrochemical, or other high speed data processing
device performing logical, arithmetic or storage functions, and includes any data storage
facility or communications facility directly related to or operating in conjunction with such
device.”

f. “Computer hardware,” as used herein, consists of all equipment which can
receive, capture, collect, analyze, create, display, convert, store, conceal, or transmit
electronic, magnetic, or similar computer impulses or data. Computer hardware includes
any data processing devices (including, but not limited to, central processing units, internal
and peripheral storage devices such as fixed disks, external hard drives, floppy disk drives

and diskettes, and other memory storage devices); peripheral input/output devices
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(including, but not limited to, keyboards, printers, video display monitors, and related
communications devices such as cables and connections), as well as any devices,
mechanisms, or parts that can be used to restrict access to computer hardware (including,
but not limited to, physical keys and locks).

g. “Computer software,” as used herein, is digital information which can be
interpreted by a computer and any of its related components to direct the way they work.
Computer software is stored in electronic, magnetic, or other digital form. It commonly
includes programs to run operating systems, applications, and utilities.

h. The terms “records,” “documents,” and “materials,” as used herein, include
all information recorded in any form, visual or aural, and by any means, whether in
handmade form (including, but not limited to, writings, drawings, paintings), photographic
form (including, but not limited to, microfilm, microfiche, prints, slides, negatives,
videotapes, motion pictures, photocopies), mechanical form (including, but not limited to,
phonograph records, printing, typing) or electrical, electronic or magnetic form (including,
but not limited to, tape recordings, cassettes, compact discs, electronic or magnetic storage
devices such as floppy diskettes, hard disks, CD-ROMs, digital video disks (DVDs),
personal digital assistants (PDAs), multimedia cards (MMCs), memory sticks, optical disks,
printer buffers, smart cards, memory calculators, electronic dialers, or electronic notebooks,

as well as digital data files and printouts or readouts from any magnetic, electrical or

electronic storage device).

i. “Computer passwords and data security devices,” as used herein, consist of

information or items designed to restrict access to or hide computer software,
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documentation, or data. Data security devices may consist of hardware, software, or other
programming code. A password (a string of alpha numeric characters) usually operates a
sort of digital key to “unlock” particular data security devices. Data security hardware may
include encryption devices, chips, and circuit boards. Digitally coded data security software
may include programming code that creates “test” keys or “hot” keys, which perform
certain pre-set security functions when touched. Data security software or code may also
encrypt, compress, hide, or “boobytrap” protected data to make it inaccessible or unusable,
as well as reverse the progress to restore it.

j. “Internet Protocol address” or “IP address” refers to a unique number used by
a computer to access the Internet and is associated with a physical address. IP addresses can
be dynamic, meaning that the Internet Service Provider (ISP) may assign a unique and
different number to a computer at different times that it accesses the Internet. IP addresses
might also be static, ifan ISP assigns a user’s computer a particular IP address which is used
each time the computer accesses the Internet.

k. “Wireless telephone” (or mobile -telephone, or cellular telephone) is a
handheld wireless device used for voice and data communication through radio signals,
These telephones send signals through networks of transmitter/receivers, enabling
communication with other wireless telephones or traditional “land line” telephones. A
wireless telephone usually contains a “call log,” which records the telephone number, date,
and time of calls made to and from the phone. In addition to enabling voice
communications, wireless telephones offer a broad range of capabilities. These capabilities

include: storing names and phone numbers in electronic “address books;” sending,

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receiving, and storing text messages and e-mail; taking, sending, receiving, and storing still
photographs and moving video; storing and playing back audio files; storing dates,
appointments, and other information on personal calendars; and accessing and
downloading information from the Internet. Wireless telephones may also include global
positioning system (“GPS”) technology for determining the location of the device. Many
wireless telephones are minicomputers or “smart phones” with immense storage capacity.

1. A “digital camera” is a camera that records pictures as digital picture files,
rather than by using photographic film. Digital cameras use a variety of fixed and removable
storage media to store their recorded images. Images can usually be retrieved by connecting
the camera to a computer or by connecting the removable storage medium to a separate
reader. Removable storage media include various types of flash memory cards or miniature
hard drives, Most digital cameras also include a screen for viewing the stored images. This
storage media can contain any digital data, including data unrelated to photographs or
videos.

m. A portable media player (or “MP3 Player” or iPod) is a handheld digital
storage device designed primarily to store and play audio, video, or photographic files.
However, a portable media player can also store other digital data. Some portable media
players can use removable storage media. Removable storage media include various types
of flash memory cards or miniature hard drives. This removable storage media can also
store any digital data. Depending on the model, a portable media player may have the

ability to store very large amounts of electronic data and may offer additional features such

as a calendar, contact list, clock, or games.

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n. Individuals often use a Virtual Private Network (VPN) in an attempt to remain
anonymous while connected to the internet. A VPN is typically a paid service that keeps an
individual’s web browsing secure and private. In some cases, VPNs can get past regional
restrictions for various video and music-streaming sites and help individuals evade
government censorship restrictions. Based on my training and experience, and
conversations with other law enforcement officers, a VPN can also be used by individuals
involved in illegal activity on the internet to avoid being detected by law enforcement. A
VPN can be thought of as a secure tunnel between a user’s computer, or any other internet-
enabled device, and the destinations a user visits on the internet. The user’s computer, or
other internet-enabled device, connects to a VPN server, which can be located in the United
States or any other foreign country. The VPN user’s activity on the internet is then passed
back and forth through that specific server, and as a result, it appears the user is browsing
the internet from that server’s geographical location instead of the user’s actual computer
or internet-enable device.

COMPUTERS AND CHILD PORNOGRAPHY
i Based upon my training and experience, as well as conversations with other
experienced law enforcement officers and computer forensic examiners, I know that
computers and computer technology have revolutionized the way in which individuals
interested in child pornography interact with each other. In the past, child pornography was
produced using cameras and film (either still photography or movies). The photographs
required darkroom facilities and significant skill to develop and reproduce the images. There

were definable costs involved with the production of pornographic images, and to distribute
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these images on any scale required significant resources and significant risks. The
photographs themselves were somewhat bulky and required secure storage to prevent their
exposure to the public and/or law enforcement. The distribution of these wares was
accomplished through a combination of personal contacts, mailings and telephone calls.

8. The development of computers has radically changed the way that child
pornographers manufacture, obtain, distribute and store their contraband. Computers
basically serve five functions in connection with child pornography: access, production,
communication, distribution, and storage.

9, Child pornographers can now convert paper photographs taken with a
traditional camera (using ordinary film) into a computer readable format with a device
known as a scanner. Moreover, with the advent, proliferation and widespread use of digital
cameras, images and videos can now be transferred directly from a digital camera onto a
computer using a connection known as a USB cable or other device. Digital cameras, as
well as “smart” phones such as the Android device, have the capacity to store images and
videos indefinitely, and memory storage cards used in these cameras are capable of holding
hundreds of images and videos. A device known as a modem allows any computer to
connect to another computer through the use of telephone, cable, or wireless connection.
Electronic contact can be made to literally millions of computers around the world.

10. The computer’s ability to store images in digital form makes the computer
itself an ideal repository for child pornography. The size of the electronic storage media,
that is, the hard disk drive used in home computers has grown tremendously within the last

several years. These hard disk drives can store hundreds of thousands of images at very high
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resolution.

11, The World Wide Web of the Internet affords collectors of child pornography
several different venues for obtaining, viewing and trading child pornography in a relatively
secure and anonymous fashion.

12. Collectors and distributors of child pornography frequently use online
resources to retrieve and store child pornography, including services offered by Internet
portals such as Yahoo!, Hotmail, and Google, among others. The online services allow a
user to set up an account with a remote computing service that provides email services as
well as electronic storage of computer files in any variety of formats. A user can set up an
online storage account from any computer with access to the Internet. Evidence of such
online storage of child pornography is often found on the user’s computer. Even in cases
where online storage is used, however, evidence of child pornography can be found on the
user’s computer in most cases.

13. As is the case with most digital technology, communication by way of
computer can be saved or stored on the computer used for these purposes. Storing this
information can be intentional, i.e., by saving an email as a file on the computer or saving
particular website locations in, for example, “bookmarked” files. Digital information,
images and videos can also be retained unintentionally, e.g., traces of the path of an
electronic communication may be automatically stored in many places (e.g., temporary files
or ISP client software, among others). Often, a computer will automatically save transcripts
or logs of electronic communications between its user and other users that have occurred

over the Internet. These logs are commonly referred to as “chat logs.” Some programs allow
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computer users to trade images while simultaneously engaging in electronic
communications with each other. This is often referred to as “chatting,” or “instant
messaging.” Based upon my training and experience, as well as conversations with other
law enforcement officers and computer forensic examiners, I know that these electronic
“chat logs” often have great evidentiary value in child pornography investigations, as they
can record communication in transcript form, often show the date and time of such
communication, and also may show the dates and times when images of child pornography
were traded over the Internet. In addition to electronic communications, a computer user’s
internet activities generally leave traces or “footprints” in the web cache and history files of
the browser used. A forensic examiner often can recover evidence suggesting whether a
computer contains peer-to-peer software, when the computer was sharing files, and some of
the files which were uploaded or downloaded. Such information is often maintained on a
computer for long periods of time until overwritten by other data.

SEARCH AND SEIZURE OF COMPUTER SYSTEMS

 

14. Based upon my training and experience, as well as conversations with other
experienced law enforcement officers, I know that searches and seizures of evidence from
computers commonly require agents to download or copy information from the computers
and their components, or seize most or all computer items (computer hardware, computer
software, and computer related documentation) to be processed later by a qualified
computer expert in a laboratory or other controlled environment. This is almost always true

because of the following:

a. Computer storage devices (e.g., hard drives, compact disks (“CDs”), diskettes,
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tapes, and others) can store the equivalent of thousands of pages of information. Especially
when the user wants to conceal criminal evidence, he or she often stores it in random order
with deceptive file names. This requires searching authorities to examine all the stored data
to determine whether it is included in the warrant. This sorting process can take days or
weeks, depending on the volume of data stored, and it would be generally impossible to
accomplish this kind of data search on site,

b. Searching computer systems for criminal evidence is a highly technical process
requiring expert skill and a properly controlled environment. The vast array of computer
hardware and software available requires even computer experts to specialize in some
systems and applications, so it is difficult to know before a search which expert should
analyze the system and its data. The search of a computer system, which includes the use
of data search protocols, is an exacting scientific procedure which is designed to protect the
integrity of the evidence and to recover hidden, erased, compressed, password protected, or
encrypted files. Since computer evidence is extremely vulnerable to tampering or
destruction (which may be caused by malicious code or normal activities of an operating
system), the controlled environment of a laboratory is essential to its complete and accurate
analysis. Based on my training and experience, as well as conversations with other law
enforcement officers and computer forensic examiners, I know that computer forensic
techniques can often recover files, including images and videos of child pornography, that
have long been “deleted” from computer media by a computer user.

CHILD PORNOGRAPHY COLLECTOR CHARACTERISTICS

 

15. Based on my experience, training, and conversations with other experienced
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agents who investigate cases involving the sexual exploitation of children, as well as court
holdings expressly finding that individuals tend to collect child pornography.! I know that
certain common characteristics are often present in individuals who collect child
pornography. I have observed and/or learned about the reliability of these commonalities
and conclusions involving individuals who collect, produce and trade images of child
pornography. Based upon my training and experience, and conversations with other
experienced agents who investigate cases involving the sexual exploitation of children, I
know that the following traits and characteristics are often present in individuals who collect
child pornography:

a. Many individuals who traffic in and trade images of child pornography also

collect child pornography. Many individuals who collect child pornography have a sexual

 

* Based on my training and experience and legal instruction by Assistant U.S. Attorney Ashley
Washington, I know that courts have recognized that individuals interested in child pornography tend to
collect it and rarely dispose of it. See, e.g. United States v. Toust, 890 F.3d 1227, 1238 (11th Cir. 2018)
(“observ{ing] that ‘pedophiles rarely, if ever, dispose of child pornography” (collecting cases); United States
v. Boysk, 933 F.3d 319, 330 (4th Cir. 2019) (“‘widespread view’ that ‘collectors and distributors of child
pornography value their sexually explicit materials highly, rarely if ever dispose of such material, and store
it for long periods in a secure place, typically in their homes’”); United States v. Notman, 831 F.3d 1084,
1088 (8th Cir. 2016) (discussing “compulsive nature of the crime of possession of child pornography and
the well-established hoarding habits of child pornography collectors”); United States v, Irving, 452 F.3d 110,
125 (2d Cir. 2006) (finding “it is well known that ‘images of child pornography are likely to be hoarded by
persons interested in those materials in the privacy of their homes’”) (citing United States v. Lamb, 945 F.
Supp. 441, 460 (N.D.N.Y. 1996) (finding “[t]he observation that images of child pornography are likely to
be hoarded by persons interested in those materials in the privacy of their homes is supported by common
sense and the cases. Since the materials are illegal to distribute and possess, initial collection is difficult.
Having succeeded in obtaining images, collectors are unlikely to quickly destroy them. Because of their
illegality and the imprimatur of severe social stigma such images carry, collectors will want to secret them
in secure places, like a private residence. This proposition is not novel in either state or federal court:
pedophiles, preferential child molesters, and child pornography collectors maintain their materials for
significant periods of time.” (collecting cases))).

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attraction to children. They receive sexual gratification and satisfaction from sexual
fantasies fueled by sexually explicit depictions of children.

b. Many individuals who collect child pornography also collect other sexually
explicit materials, which may consist of photographs, magazines, motion pictures, video
tapes, books, slides, computer graphics or digital or other images for their own sexual
gratification, Many of these individuals also collect child erotica, which may consist of
images or text that do not meet the legal definition of child pornography but which
nonetheless fuel their deviant sexual fantasies involving children.

c. Many individuals who collect child pornography often seek out like-minded
individuals, either in person or on the Internet, to share information and trade depictions of
child pornography and child erotica as a means of gaining status, trust, acceptance, and
support. This contact also helps these individuals to rationalize and validate their deviant
sexual interest in children and associated behavior. The different Internet based vehicles
used by such individuals to communicate with each other include, but are not limited to,
Peer-to-Peer (P2P), email, email groups, bulletin boards, Internet Relay Chat Rooms (IRC),
newsgroups, instant messaging, and other similar vehicles.

d. Some individuals who collect child pornography maintain books, magazines,
newspapers and other writings (which may be written by the collector), in hard copy or
digital medium, on the subject of sexual activities with children as a way of understanding
their own feelings toward children, justifying those feelings and finding comfort for their
ulicit behavior and desires. Such individuals often do not destroy these materials because of

the psychological support that they provide.

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e. Some individuals who collect child pornography often collect, read, copy or
maintain names, addresses (including email addresses), phone numbers, or lists of persons
who have advertised or otherwise made known in publications and on the Internet that they
have similar sexual interests. These contacts are maintained as a means of personal referral,
exchange, or commercial profit. These names may be maintained in the original medium
from which they were derived, in telephone books or notebooks, on computer storage
devices, or merely on scraps of paper.

f. Many individuals who collect child pornography rarely, if ever, dispose of
their sexually explicit materials and may go to great lengths to conceal and protect them
from discovery, theft, or damage. These individuals view their sexually explicit materials as
prized and valuable materials, even as commodities to be traded with other like-minded
individuals over the Internet. As such, they tend to maintain or “hoard” their visual
depictions of child pornography for long periods of time in the privacy and security of their
homes or other secure locations. These individuals may protect their illicit materials by
passwords, encryption, and other security measures; save it on movable media such as CDs,
DVDs, flash memory, thumb drives, and removable hard drives, which can be very small
in size, including as small as a postage stamp, and easily secreted; or send it to third party
image storage sites via the Internet. Based on my training and experience, as well as my
conversations with other experienced law enforcement officers who conduct child
exploitation investigations, I know that individuals who possess, receive, and/or distribute
child pornography by computer devices using the Internet often maintain and/or possess

the items listed in Attachment B.
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16, As stated in substance above and based upon my training and experience, as
well as my conversations with other experienced law enforcement officers, I know that
individuals who collect and trade child pornography often do not willfully dispose of their
child pornography collections, even after contact with law enforcement officials. For
example, [ learned from HSI Special Agent (SA) Anthony Algozzini of an investigation he
conducted in 2016 in the Middle District of Florida, in which the subject had his residence
searched in July 2016 pursuant to a state search warrant and his wireless telephone and
computer tablet seized by the Jacksonville Sheriffs Office. The search of these devices
revealed the subject knowingly possessed several images of child pornography. The subject
was made aware of the ongoing investigation into the subject’s commission of child
pornography offenses. Approximately three months later, the subject was arrested on
federal child pornography charges. On the same day as the subject’s arrest, HSI executed a
federal search warrant and seized a wireless telephone acquired and used by the subject after
the execution of the state search warrant at his residence. Subsequent forensic examination
of this wireless telephone revealed that the subject had received, possessed and viewed
images of child pornography numerous times on his new device after the execution of the
state search warrant and before his federal arrest.

17, Based on my training and experience, I also know that, with the development
of faster Internet download speed and the growth of file-sharing networks and other
platforms through which individuals may trade child pornography, some individuals also
have been found to download, view, and then delete child pornography on their computers

or digital devices on a cyclical and repetitive basis. However, as referenced above, evidence

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of such activity, including deleted child pornography, often can be located on these
individuals’ computers and digital devices using forensic tools, Furthermore, even in
instances in which an individual engages in a cycle of downloading, viewing, and deleting
images, a selection of favorite images involving a particular child or act is often maintained
on the device.

18. Based on my training and experience, I know that within the last several years,
individuals who have a sexual interest in minor children have used the internet and internet-
enabled devices with increasing deaiteney to make contact with and attempt to establish
relationships with potential child victims. These individuals may perceive that the internet
provides some degree of anonymity and safety from prosecution. Because more and more
children are using the internet and internet enabled devices, these individuals potentially
expose more and more child victims to online sexual exploitation. These individuals may
contact potential child victims through social networking websites such as Facebook and
Twitter or may engage in online conversations with children through text messaging and
email. During these online conversations, photographic images and links to internet
websites can be easily exchanged between the individual and the targeted child. Based on
my training and experience, I know that when such an individual uses text messaging,
email, or other websites to have online contact with children, the internet-enabled device
used, whether it is a computer, a cellular telephone, a “smart” phone such as an Android
device, or a tablet such as an “iPad,” often saves and maintains evidence of such contacts.

This evidence can often be extracted and examined by a trained forensic examiner.

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BITTORRENT PEER TO PEER FILE SHARING

19. Based on my training and experience, I know the following regarding Peer to
Peer (hereinafter referred to as “P2P”) file sharing networks, P2P client software programs,
and the BitTorrent P2P file-sharing network.

20. A phenomenon on the Internet is P2P file sharing, P2P file sharing is a method
of communication available to Internet users through using special software programs. P2P
file sharing programs allow groups of computers using the same file sharing network and
protocols to transfer digital files from one computer system to another while connected to a
network, usually on the Internet. There are multiple types of P2P file sharing networks on
the Internet. To connect to a particular P2P file-sharing network, a user first obtains a P2P
client software program fie a particular P2P file sharing network, which can be downloaded
from the Internet. A particular P2P file sharing network may have many different P2P client
software programs that allow access to that particular P2P file sharing network.
Additionally, a particular P2P client software program may be able to access multiple P2P
file sharing networks. These P2P client software programs share common protocols for
network access and file sharing. The user interface features, and configurations may vary
between clients and versions of the same client.

21. In general, P2P client software allows the user to set up file(s) on a computer
to be shared on a P2P file-sharing network with other users running compatible P2P client
software. A user can also obtain files by opening the P2P client software on the user’s
computer and conducting a search for files that are of interest and currently being shared on

a P2P file-sharing network.
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22. Some P2P file sharing networks are designed to allow users to download files
and frequently provide enhanced capabilities to reward the sharing of files by providing
reduced wait periods, higher user ratings, or other benefits. In some instances, users are not
allowed to download files if they are not sharing files. Settings within these programs
control sharing thresholds.

23, Typically, during a default installation of a P2P client software program,
settings are established which configure the host computer to share files. Depending upon
the P2P client software used, a user may have the ability to reconfigure some of those
settings during installation or after the installation has been completed.

24, Typically, a setting establishes the location of one or more directories or folders
whose contents (digital files) are made available for distribution to other P2P clients. In
some clients, individual files can also be shared.

25. Typically, a setting controls whether or not files are made available for
distribution to other P2P clients.

26. Typically, a setting controls whether or not users will be able to share portions
of a file while they are in the process of downloading the entire file. This feature increases
the efficiency of the network by putting more copies of file segments on the network for
distribution.

27. Typically, files being shared by P2P clients are processed by the client

software. As part of this processing, a hashed algorithm value is computed for each file
and/or piece of a file being shared (dependent on the P2P file sharing network), which

uniquely identifies it on the network. A file (or piece of a file) processed by this hash
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algorithm operation results in the creation of an associated hash value often referred to as
a digital signature, Some hash algorithms provide a certainty exceeding 99.99 percent that
two or more files with the same hash value are identical copies of the same file regardless
of their file names. By using a hash algorithm to uniquely identify files on a P2P network,
it improves the network efficiency. Because of this, typically, users may receive a selected
file from numerous sources by accepting segments of the same file from multiple clients
and then reassembling the complete file on the local computer. This is referred to as
multiple source downloads. The client program succeeds in reassembling the file from
different sources only if all the segments came from exact copies of the same file. P2P file
sharing networks use hash values to ensure exact copies of the same file are used during
this process.

28.  P2P file-sharing networks, including the BitTorrent network, are frequently
used to trade digital files of child pornography. These files include both image and movie
files.

29. The BitTorrent network is a very popular and publicly available P2P file-
sharing network. Most computers that are part of this network are referred to as “peers.”
The terms “peers” and “clients” can be used interchangeably when referring to the
BitTorrent network. A peer can simultaneously provide files to some peers while
downloading files from other peers.

30. The BitTorrent network can be accessed by computers running many different
client programs, some of which include the BitTorrent client program, uTorrent client

program, and Vuze client program. These client programs are publicly available and free

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P2P client software programs that can be downloaded from the Internet, There are also
BitTorrent client programs that are not free. These BitTorrent client programs share
commion protocols for network access and file sharing. The user interface features and
configuration may vary between clients and versions of the same client.

31. During the installation of typical BitTorrent network client programs, various
settings are established which configure the host computer to share files. Depending upon
the BitTorrent client used, a user may have the ability to reconfigure some of those settings
during installation or after the installation has been completed. Typically, a setting
establishes the location of one or more directories or folders whose contents (files) are made
available to other BitTorrent network users to download.

32. In order to share a file or a set of files on the BitTorrent network, a “Torrent”
file needs to be created by the user that initially wants to share the file or set of files. A
“Torrent” is typically a small file that describes the file(s) that are being shared, which may
include information on how to locate the file(s) on the BitTorrent network. A typical
BitTorrent client will have the ability to create a “Torrent” file. It is important to note that
the “Torrent” file does not contain the actual file(s) being shared, but information about the
file(s) described in the “Torrent,” such as the name(s) of the file(s) being referenced in the

“Torrent” and the “info hash” of the “Torrent.” The “info hash” is a SHA-1? hash value of

 

*SHA-1, or Secure Hash Algorithm Version 1, is a file encryption method which may be used to produce a
unique digital signature of a file. Finding a file that produces the same SHA-1 value as a known file requires
a search and comparison of 10% (2!) different files, which is computationally infeasible. The Secure Hash
Algorithm (SHA) was developed by the National Institute of Standards and Technology (NIST), along with
the National Security Agency (NSA), for use with the Digital Signature Standard (DSS) as specified within

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the set of data describing the file(s) referred to in the “Torrent,” which include the SHA-1
hash value of each file piece, the file size, and the file name(s). The “info hash” of each
“Torrent” uniquely identifies the “Torrent” file on the BitTorrent network. The Torrent”
file may also contain information on how to locate file(s) referenced in the “Torrent” by
identifying “Trackers.” “Trackers” are computers on the BitTorrent network that collate
information about the peers/clients that have recently reported they are sharing the file(s)
referred to in the “Torrent” file. A “Tracker” is only a pointer to peers/clients on the
network who may be sharing part or all of the file(s) referred to in the “Torrent.” It is
important to note that the “Trackers” do not actually have the file(s) and are used to
facilitate the finding of other peers/clients that have the entire file(s) or at least a portion of
the file(s) available for sharing. It should also be noted that the use of “Tracker(s)” on the
BitTorrent network are not always necessary to locate peers/clients that have file(s) being
shared from a particular “Torrent” file. There are many publicly available servers on the
Internet that provide BitTorrent tracker services.

33. Once a torrent is created, in order to share the file(s) referenced in the
“Torrent” file, a user typically makes the “Torrent” available to other users, such as via
websites on the Internet.

34. In order to locate “Torrent” files of interest, a typical user will use keyword

searches within the BitTorrent network client itself or on websites hosting “Torrents.” Once

 

the Secure Hash Standard (SHS). The United States of America has adopted the SHA-1 hash algorithm
described herein as a Federal Information Processing Standard.

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a “Torrent” file is located that meets the keyword search criteria, the user will download
the “Torrent” file to their computer. Alternatively, a user can also search for and locate
“magnet links,” which is a link that enables the BitTorrent network client program itself to
download the “Torrent” to the computer. In either case, a “Torrent” file is downloaded to
the user’s computer. The BitTorrent network client will then process that “Torrent” file in
order to find “Trackers” or utilize other means that will help facilitate finding other
peers/clients on the network that have all or part of the file(s) referenced in the “Torrent”
file. It is again important to note that the actual file(s) referenced in the “Torrent” are
actually obtained directly from other peers/clients on the BitTorrent network and not the
“Trackers” themselves. Typically, the “Trackers” on the network return information about
remote peers/clients that have recently reported they have the same file(s) available for
sharing (based on SHA-1 “info hash” value comparison), or parts of the same file(s), referred
to in the “Torrent,” to include the remote peers/clients Internet Protocol (IP) addresses.
35. | For example, a person interested in obtaining child pornographic images on
the BitTorrent network would open the BitTorrent client application on his/her computer
and conduct a keyword search for files using a term such as “preteen sex.” (It should be
noted that this situation did not occur in this investigation.) The results of the torrent search

are typically returned to the user’s computer by displaying them on the torrent-hosting

 

* Computers on the Internet identify each other by an Internet Protocol or IP address. IP addresses
can assist law enforcement in finding a particular computer on the Internet. IP addresses can
typically lead the law enforcement officer to a particular Internet service company and that

company can typically identify the account and location that used the IP address to access the
Internet.

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website. The hosting website will typically display information about the torrent, which can
include the name of the torrent file, the name of the file(s) referred to in the torrent file, the
file(s) size, and the “info hash” SHA-1 value of the torrent file. The user then selects a torrent
of interest to download to his or her computer. Typically, the BitTorrent client program will
then process the torrent file. The user selects from the results displaying the file(s) he or she
wants to download that were referred to in the torrent file. Utilizing trackers and other
BitTorrent network protocols (such as Distributed Hash Tables, Peer Exchange, and Local
Peer Discovery), peers/clients are located that have recently reported they have the file(s)
or parts of the file(s) referred to in the torrent file available for sharing. The file(s) is then
downloaded directly from the computer(s) sharing the file. Typically, once the BitTorrent
network client has downloaded part of a file(s), it may immediately begin sharing the file
with other users on the network. The BitTorrent network client program succeeds in
reassembling the file(s) from different sources only if it receives “pieces” with the exact
SHA-1 piece hash described in the torrent file. During the download process, a typical
BitTorrent client program displays the Internet Protocol address of the peers/clients that
appear to be sharing part or all of the file(s) referred to in the torrent file or other methods
utilized by the BitTorrent network protocols. The downloaded file is then stored in the area
previously designated by the user and/or the client program. The downloaded file(s),
including the torrent file, will remain until moved or deleted.

36. Typically, as described above, one method for investigators to search the
BitTorrent network for users possessing and/or disseminating child pornography files is to

type in search terms, based on their training and experience, that would return a torrent

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filename indicative of child pornography. The investigator would then download the file(s)
referred to within the torrent file and determine if the file(s) indeed contained child
pornography. If so, the investigator can document the “info hash” SHA-1 hash value of this
torrent file, to be compared with future identical torrent files observed on the BitTorrent
network. Although transparent to the typical user, when searches are conducted, additional
results are received from the trackers on other peers who recently reported to the network
as having that file(s) in whole or in part, which may include the IP addresses of those
peers/clients. This information can be documented by investigators and compared to those
“info hash” SHA-I1 hash values the investigator has obtained in the past and believes to be
child pornography. This allows for the detection and investigation of computers involved
in possessing, receiving, and/or distributing files of previously identified child pornography.
Therefore, without even downloading the file, the investigator can compare the “info hash”
SHA-1 hash value and determine with mathematical certainty that a file seen on the
network is an identical copy of a child pornography file he or she has seen before.

37. The returned list of IP addresses can include computers that are likely to be
within the investigator’s jurisdiction. The ability to identify the approximate location of
these IP addresses is provided by IP geographic mapping services, which are publicly
available and also used for marketing and fraud detection. At this point in the investigative
process, an association between a known torrent file (based upon on the “info hash” SHA-

1 hash value comparison) and a computer having a specific IP address (likely to be located

within a specific region) can be established.

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38. Once a client user is identified as recently having a file believed to be child
pornography, in whole or in part, the investigator can then query that client user directly to
confirm that the client user has that file, in whole or in part, and/or download that file
directly from the client user exclusively, otherwise known as a single-source download,
Depending upon several factors, including configuration and available resources, it might
not be possible to do either. The process of sharing files on the BitTorrent network involves
peers allowing other peers to copy a file or portions of a file. This sharing process does not
remove the file from the computer sharing the file. This process places a copy of the file on
the computer that downloaded it.

39, If an investigator either received an affirmative response from a remote peer
that they possess a digital file, or the investigator received a digital file, in whole or in part,
that is believed to contain child pornography, from a remote peer at a specific IP address,
the investigator can conclude that a computer, likely to be in this jurisdiction, is running a
BitTorrent network P2P client and is currently possessing, receiving, and/or distributing
specific and known visual depictions of child pornography.

40, Law enforcement has created BitTorrent network client programs that obtain
information from “Trackers” about peers/clients recently reporting that they are involved
in sharing digital files of known actual child pornography (based on the “info hash” SHA-
1 hash value), which then allows the downloading of a file from a single IP address (as
opposed to obtaining the file from multiple peers/clients on the network). This procedure
allows for the detection and investigation of those computers involved in sharing digital files

of known actual child pornography on the BitTorrent network.
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41, During the query and/or downloading process from a remote BitTorrent
network client, certain information may be exchanged between the investigator’s client and
the remote client they are querying and/or downloading a file from. This information can
include (1) the remote client's IP address; (2) a confirmation from the remote client that
they have pieces of the file(s) being requested, in whole or in part, and that the pieces of the
file(s) is being reported as shared from the remote client program; and (3) the remote client
program and version. This information may remain on the remote client’s computer system
for long periods of time. The investigator has the ability to log this information. A search
can later be conducted on a seized computer system(s) for this information, which may
provide further evidence that the investigator’s client communicated with the remote client.

42. The investigation of P2P file sharing networks is a cooperative effort of law
enforcement agencies around the country. Many of these agencies are associated with the
Internet Crimes against Children Task Force Program. P2P investigative methodology has
led to the issuance and execution of search warrants around the country resulting in the
arrest and conviction of numerous offenders possessing and/or distributing child
pornography, some of whom were also involved in the sexual exploitation of actual child
victims.

43. Computers throughout the world can download files from download
candidates without regard to geographic location. I know that the files located on P2P

download candidates are quickly available throughout the world due to the distributed

sharing model of P2P networks.

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44. Based on my training and experience, as well as conversations with other
experienced law enforcement officers, I know that cooperating police agencies pool their
information to assist in identifying criminal conduct and build probable cause to further
criminal investigations. With this pooled information, law enforcement officers may obtain
a better understanding of the global information available about a suspect that resides within
their geographic area of jurisdiction, Given the global scope of the Internet, this information
is valuable when trying to establish the location of a suspect. Investigators from around the
world gather and log information, which can be used by an investigator to establish probable
cause for a specific investigation in his or her jurisdiction.

45. Based on my training and experience, and my conversations with other law
enforcement officers and agents, I know P2P file sharing networks are often used for illegal
activity, to include the sharing and distribution of files that contain child exploitation
material.

FACTS ESTABLISHING PROBABLE CAUSE

46. [make this affidavit in support of a search warrant for the residence located at
606 Park Avenue, Apartment 604, Orange Park, Florida 32073, “Subject Location,” that I
believe to be currently occupied by Robert William Bernasco Sr, and others, after
conducting physical surveillance at the Subject Location and queniing the Florida Driver
and Vehicle Identification Database (DAVID), a NCMEC database, and the Jacksonville
Electric Authority (JEA) database. This affidavit is based upon information provided to me
both verbally and in written documentation from other law enforcement officers and

personnel, to include Clay County Sheriffs Office Detective and HSI Task Force Officer
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(TFO) Andrew Koehler, as well as through an investigation that I personally conducted as
set forth herein. I have personally observed the premises, and it appears as set forth in
Attachment A.

47. HSI is investigating the use of one or more computers, wireless telephones,
and computer media at the Subject Location to commit violations of 18 U.S.C. §§ 2252 and
2252A, which prohibit the transportation, receipt, distribution, possession, and access with
intent to view child pornography, that is, visual depictions of one or more minors engaging
in sexually explicit conduct as defined in 18 U.S.C. § 2256.

48. In July 2021, I received an investigative lead from TFO Koehler, who
conducted an online investigation on the BitTorrent network for offenders sharing child
pornography. On July 9, 2021, I reviewed all of the information, reports, and files
containing child exploitation material that were provided to me by TFO Koehler. Since July
9, 2021, I have also had several phone conversations with TFO Koehler about the
investigation he initiated in March 2021.

49. On March 2, 2021, TFO Koehler directed his investigative focus to a device at
IP address 73.53.216.240, because it was associated with a torrent with the infohash:
a6a796f2 1 94bf77ea274df470d9131403c12b686. This torrent file references 25 files, at least
one of which was identified as being a file of investigative interest to child pornography
investigations, as it potentially contained child pornography. Using a computer running
investigative BitTorrent software, TFO Koehler directly connected to a device at IP address
73.53.216.240 on January 31, 2021. The device reported it was using BitTorrent client

software -UT355W- uTorrent 3.5.5. On January 31, 2021, a download was successfully
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completed of the following 10 files that a device at IP address 73.53.216.240 made available

to other users:

File name: /// NEW I! 2010k — Syo - chunk2 FK pthc best.avi
SHA-I hash value: C7PJSPFPON4VE2PFSFOQUZD5LOVBFIDQ

File name: (Children-sfIman)- N (10Yo).mpg
SHA-1 hash value: ZIHQ6FPIA Y63TIFTGUWZZ6XIUDGW4RJIK

File name: (Pthc) - kaaccuxa avi 640x480 (Loving, Lolita).avi
SHA-1 hash value: VPGYMISNLOJVW4E2T73THEBU4U5CYEUT

File name: (PTHC) JhO-K _ &A ‘&Company.mpg
SHA-1 hash value: TLWSU6BQOKSLDCNNTHRXPNCISTCXD7DX

File name: 5 (PTHC). mpg
SHA-1 hash value: QP32KWDMT3IXFWECYHSXFIY7EHL3RS76

File name: 9 yo Blonde In Camping Incest(3m8s)pthc.avi
SHA-1 hash value: YG7PEEXBXQLDEHORX3NWHCJUTHEOXBLOQ

File name: A ‘3 Five Yo Pthe,Pedo,Incest,Kiddy 7m35S.mpg
SHA-1 hash value: D4MTMTNW2SYHPSML2RGSVMHGBDOQEU7D4

File name: desktop. ini
SHA-1 hash value: VCYR4ZH6H52VME7WNTOOTIVCP226CNOI

Filename: /New/(Pthc)T — 8Yr- Tara Gets Molested By A Clown(t ‘Part I ).mpg
SHA-1 hash value: ASN6ETIHXZPQYK7UMJ7VTOKHO3L5AOMW

File name: Russian Lolita 13 yo- SaMix (PTHC)(R@y gold).mpg
SHA-I hash value: BZEN2SABE7TN3AAJMZ7TUS42LX2ZTZDXM
50. [reviewed all of the files listed above on August 2, 2021, and 9 of them contain
child exploitation material. A description of the file named /// NEW !!! 2010 k. Syo - chunk2

FK pthc best.avi is as follows:

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The color video is one-minute and 25-seconds with sound that depicts a
female child lying on her back that is nude from the waist down. When the
video begins, an erect male penis is seen penetrating the female child’s
vagina. As the video continues, the male continues to force his erect penis
into the female child’s vagina and he says to the child, “Stay still fora
minute.” The male continues to penetrate the female child’s vagina with his
erect penis for the duration of the video. I believe the female is a
prepubescent child based upon the lack of pubic hair, the overall size of her
body and the fact that this video file appears to depict at least one child
previously identified by law enforcement (discussed in paragraph 51). Based
on my training and experience, I believe the file depicts at least one minor
engaged in sexually explicit conduct, and therefore constitutes child
pornography pursuant to 18 U.S.C. § 2256.

Sl. LT obtained the unique hash value for the video files listed above on August 2,
2021. Based on my training and experience, I know that a hash value is a unique identifier
based on an algorithm that is specific to a particular video and/or image, and further that
hash values are used by law enforcement to identify images and videos that depict child
pornography. I learned from NCMEC that the exact hash value of 6 of the 10 files listed
above, to include the file named /! NEW /!! 2010 k — Syo - chunk2 FK pthc best.avi, are
associated with an image/video which appears to depict at least one child previously
identified by law enforcement. I also learned from NCMEC that the exact hash values of 3
of the 10 files listed above are associated with files previously submitted to NCMEC’s Child
Recognition and Identification System.

52. The device at IP Address 73.53.216.240 was the sole candidate for each
download, and as such, each file was downloaded directly from this IP Address. On March
2, 2021, TFO Koehler conducted a query of IP address 73,53.216.240 through the American
Registry for Internet Numbers (ARIN) and learned that IP address 73.53.216.240 was

registered to Comcast Cable Communications, LLC.

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53. On March 2, 2021, TFO Koehler caused a subpoena to be issued to Comcast
requesting subscriber information for IP address 73.53.216.240 on January 31, 2021, at
13:16:00 UTC, the date and time when TFO Koehler directly connected to a device using
that IP address to share files containing child exploitation material over the internet. On
March 15, 2021, Comcast provided the requested information to TFO Koehler, and I
reviewed it in its entirety on July 9, 2021. The information provided listed the account as
active and the subscriber as Anna Boston residing at the Subject Location. The phone
number listed on the account is (904) 450-9909,

54. Through further investigation, TFO Koehler learned about additional
downloads from a device at the same IP address, 73.53,.216.240, that was associated with a
torrent with the infohash: 64a33fa034ad1f7b3b9020712a34bf0141811b47, This torrent file
references 41 files, at least one of which was identified as being a file of investigative interest
to child pornography investigations, as it potentially contained child pornography. Using a
computer running investigative BitTorrent software, TFO Koehler directly connected to a
device at IP address 73.53.216.240 again on April 3, 2021. The device reported it was using
BitTorrent client software -UT355W- uTorrent 3.5.5. On April 3, 2021, a download was

successfully completed of the following 16 files that a device at IP address 73.53.216.240

made available to other users:

File name: K Pthe - Superexcellente!! (((Kingpass))) (a03).avi
SHA-1 hash value: 65 HDBCPVSSHBJ6X WU7RUSDYLSG6EAQLH

File name: (Hussyfan) (pthc) (r@ygold) Preteen Asian A. , Llyo a¢

Filipina ) child prostitute XXX HC Pedo ptsc.mpg
SHA-1 hash value: PTHLOSBOY YK WDSY ZHSSFDMEBEGVRESTS

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File name: B63-[ R@ygold PTHC Hussyfan Kingpass ] Ilyo Girl fucked by
Daddy.mpg

SHA-1 hash value: XCBMY4MS5PIKNZ306J7E27JN5S3K YNPHG

File name: (Pthc) 10Yo L - Dando A Bucetinha Pro Papai Pedo Kingpass Ptsc
Hussyfan Lolita.avi

SHA-1 hash value: KGO66522HFBHS5NJTOG2HGVTZHENDIPAU

File name: (Hussyfan Pthc R@ Ygold Babyshivid) M 8Yo.avi
SHA-1 hash value: 7TVKVLHNUCTWUPM3XXULNDIINGXJO6YY

File name: awesome preteen compilation 2.mpg
SHA-1 hash value: ILJJFEALEOFVEDDEDLDG55PYP7K3XOCI

File name: PTHC !-NEW-!-S, (Ilya). mpg
SHA-1 hash value: MOWDF2GJNGK6INVR3AJ26NDP6SA6PFO7

File name: 16Yo Thai Girl With Two Boys, 18Yo And 17Yo Shaved Recomendo
Flagras Big Brotherl.mpg

SHA-1 hash value; SC7IHYZBSJK6LWIMBDOPY4MPFL32YF42

File name: stickam-rach_l3yo love-batela.avi
SHA-1 hash value: GJUZURIWWJWE6H355RGFO2E26PMNRJD

File name: webcam girl - 10yo New ilovedauntem10 & ILyo sisters flash pussy on
webcam pthc.avi

SHA-1 hash value: 63460CDSFR7YSVSSLRRPSPCIETASTDFA

File name: 9 yo Blonde Daughter Fingered In Camping Tent Incest(3m8s).avi
SHA-1 hash value: ZAKBDDIX6N4NSBCIKCZ6SUK2B7VWDC66

Filename: V String Bikini Pthc 11Yo Pedofilia.mpg
SHA-1 hash value: YUOXWRMPCR6UAGBPNBRA VHPUHRKD7IBY

File name: 3+4yr 2 Girls children sexually abused BEAUTIFUL_Venezuela part-2)
mpg
SHA-I hash value: DFF6V7BITVLKXZ26UWXZMMMMK Y7NO2LO

File name: / New / (Kinderkutje) (Pthc) B Priv 12Yo.avi
SHA-1 hash value: CY VPV4623AEL4GJD6GLOGHAX4GOE7M6I

File name: (Pthc) 6Yo Babyj - Bedtime Rape .mpg

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SHA-1 hash value: 3Y7S5TD6UKJ3 YJPBAPOE6Z6CYX3XTZDQ3

File name: 15 yo girl ri21 year old teen virgin raped(Get THIS).mpg
SHA-1 hash value: 2CSGVCO24IQIZLIW24WRWEYFZROAXDLX

55. I reviewed all of the files listed above on August 2, 2021, and all of them
contain child exploitation material. A description of the file named (Hussyfan Pthc R@ Ygold
Babyshivid) M 8Yo.avi is as follows:

The color video is approximately 13 minutes and 1 second with sound that
depicts a prepubescent female performing oral sex on an adult male. The
female child is instructed by the adult male to stand up and take her clothes
off. The adult male adds, “Stop crying.” The female child is completely nude
in the video, The adult male instructs the female child to get on the bed and
continue performing oral sex on him. The adult male then instructs the female
child to lay on the bed and rubs his erect penis on the female child’s vagina
and anus. The adult male then straddles the female child’s torso and ejaculates
on the child’s face, neck and chest. I believe the female is a prepubescent child
based upon the lack of pubic hair, lack of breast development, child-like facial
features, and the overall size of her body. Based on my training and
experience, I believe the file depicts at least one minor engaged in sexually

explicit conduct, and therefore constitutes child pornography pursuant to 18
U.S.C. § 2256.

56. I obtained the unique hash value for the video files listed above on August 2,
2021. I learned from NCMEC that the exact hash value of 5 of the 16 files listed above, to
include the file named (Hussyfan Pthc R@Ygold Babyshivid) M SYo.avi, are associated
with an image/video which appears to depict at least one child previously identified by law
enforcement. I also learned from NCMEC that the exact hash values of 11 of the 16 files

listed above are associated with files previously submitted to NCMEC’s Child Recognition

and Identification System.

57. On July 9, 2021, I caused a summons to be issued to Comcast requesting

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subscriber information for IP address 73.53.216.240:on April 3, 2021, from 12:17:00 UTC
to 19:14:00 UTC, the date and time when TFO Koehler directly connected to a device using
that IP address to share files containing child exploitation material over the internet. I also
requested the current subscriber of service at the Subject Location. On July 21, 2021,
Comcast provided the requested information and I reviewed it in its entirety on July 22,
2021. The information provided listed the account as active and the subscriber as Anna
Boston residing at the Subject Location, The phone numbers listed on the account are (904)
450-9909 and (904) 375-8306. According to Comcast, this is still the current subscriber of
service at the Subject Location as of July 9, 2021, the date of the summons.

58. On July 29, 2021, Iconducted additional research on the Subject Location and
learned by researching DAVID that Anna Anderson Boston, date of birth: 1961,
(since 2011), Charles Lelande Boston, date of birth: 1990 (since 2012), and Robert
William Bernasco Sr, date of birth: 1967, (since 2014) list the Subject Location as
their residential address on their driver’s licenses. Carrie April Daniels, date of birth:

1980, lists the Subject Location as a mailing address since September 2020.

59, On July 29, 2021, I conducted a query of the JEA database for a residential
utility account located at 606 Park Avenue, Apartment 604 in Orange Park and discovered
the account is active in the name of Anna Boston. The phone numbers listed on the account
are (904) 450-9909 and (904) 213-9744. |

60. On July 29, 2021, I requested information from the United States Postal
Service (USPS) regarding the Subject Location and received a response on July 30, 2021.

According to USPS records, the residents receiving mail at the Subject Location are Charles
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Boston, Anna Boston, and First Name Unknown (FNU) Bernasco, and FNU Daniels.

61. On July 30, 2021, I conducted visual surveillance at the Subject Location. At
approximately 9:00 AM, I observed Apartment 604 and learned it is on the second floor of
building six (6).

62. On August 3, 2021, I caused a summons to be issued to the Promenade Park
Apartments requesting information on the tenants currently residing in the apartments in
building 6, On the same day, the Promenade Park Apartments personnel provided the
requested information and I reviewed it in its entirety. The information provided listed
Robert Bernasco as the only tenant residing in Apartment 604. According to apartment
records, Bernasco moved into the Subject Location on November 13, 2009, and the phone .
number on the account is (904) 450-0963.

63. On August 3, 2021, I conducted visual surveillance at the Subject Location.
At approximately 4:30 PM, I observed a white Chevrolet truck bearing Florida license plate
PAEM97 pull into the apartment complex and park directly in front of the stairs leading up
to the Subject Location. I then observed an adult male and adult female exit the Chevrolet
truck, walk up the stairs, and enter the Subject Location. According to DAVID, the 2020
white Chevrolet truck bearing Florida license plate PAEM97 is registered to Charles
Lelande Boston at the Subject Location. As the two individuals exited the truck and walk
into the Subject Location, I noticed the male appeared to be the same individual depicted
in the DAVID photograph for Charles Lelande Boston and the female appeared to be the
same individual depicted in the DAVID photograph for Carrie April Daniels. I have

reviewed numerous photos of Charles Lelande Boston and Carrie April Daniels on their
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Facebook pages and have also seen their driver license photos in DAVID.
CONCLUSION

64. Based on the foregoing, I have probable cause to believe that one or more
individuals has used and is using one or more computer devices, smart phones, and/or
electronic storage media located in the residence located at 606 Park Avenue, Apartment
604, Orange Park, Florida 32073 more fully described in Attachment A to this affidavit to,
among other things, receive, transport, distribute, possess and seek child pornography.
Therefore, I have probable cause to believe that one or more individuals, using the Subject
Location described above has violated 18 U.S.C. §§ 2252 and/or 2252A. Additionally, I
have probable cause to believe that fruits, evidence, and instrumentalities of violations of 18
U.S.C. §§ 2252 and 2252A, including at least one computer device and/or other electronic
storage media containing images and/or video depicting child pornography, and the items

more fully described in Attachment B to this affidavit (which is incorporated by reference

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ASHLEY WILSON, Special Agent
Homeland Security Investigations

herein), will be located in this residence.

Sworn and subscribed to via telephonic means on this WW day of August 2021, in
Jacksonville, Florida:

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JAMES R. KLINDT
United States Magistrate Judge
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ATTACHMENT A

RESIDENCE TO BE SEARCHED

The residence to be searched is an apartment residence located at 606 Park
Avenue, Apartment 604, Orange Park, Florida 32073, and within the community
referred to as “Promenade Park Apartments.” The apartment complex can be accessed
by turning into its entrance from Park Avenue. Building 6 is located in the back of the
apartment complex and it is the last building on the left after turning into the first
entrance road of the apartment complex. Building 6 is a two-story, multi-unit, tan
colored building with brown colored shingles on the roof. On its exterior, there is a
sign that reads “6” affixed to the center of the building. There are 12 apartments in
Building 6 and multiple windows can be seen from the parking lot. There is a sidewalk
that leads to tan colored stairs from the parking lot. The tan colored stairs lead to the

second floor, directly in front of Apartment 604. The front door to Apartment 604 can

be seen from the parking lot and faces west. It is a dark colored door and has a silver

kick plate on the bottom of it. The door handle and dead bolt are located on right side
of the door. The numbers “604” are black in color and located above the front door of

the apartment.

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ATTACHMENT B

DESCRIPTION OF ITEMS TO BE SEARCHED AND SEIZED

1. Any and all computer(s), computer hardware, computer software,
electronic storage media (including any and all disk drives, compact disks, flash
drives, cellular telephones, “smart” phones such as an Apple iPhone or a mobile
device using the Android operating system, electronic tablets such as an Apple
iPad or a tablet using the Android operating system, digital cameras and/or
memory cards, or any other device capable of electronic storage of data and/or
images), computer-related documentation, computer passwords and data-security
devices, videotapes, video-recording devices, video-recording players, and video
display monitors that are or may be used to: visually depict child pornography or
child erotica; display or access information pertaining to a sexual interest in child
pornography; display or access information pertaining to sexual activity with
children; or distribute, possess, or receive child pornography or child erotica.

2 Any and all computer software, including programs to run operating
systems, applications, such as word processing, graphics, and communications
programs peer to peer software, that may be or are used to: visually depict child
pornography (any visual depiction of minors engaged in sexually explicit conduct,
as defined in 18 U.S.C. § 2256(2)) or child erotica, display or access information
pertaining to a sexual interest in child pornography; display or access information
pertaining to sexual activity with children; or distribute, possess or receive child

pornography or child erotica.
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oi Any and all notes, documents, records, or correspondence, in any
format and medium (including envelopes, letters, papers, email messages, chat
logs and electronic messages, and handwritten notes) pertaining to the possession,
receipt, transportation, distribution or seeking of child pornography as defined in
18 U.S.C. § 2256(8) or to the possession, receipt, transportation, distribution or
seeking of visual depictions of minors engaged in sexually explicit conduct as
defined in 18 U.S.C, § 2256(2).

4, In any format and medium, all originals, computer files, copies, and
negatives of child pornography as defined in 18 U.S.C. § 2256(8), visual depictions
of minors engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2),
or child erotica.

5. Any and all diaries or address books containing names or lists of
names and addresses of individuals who have been contacted by use of the
computer(s) or by other means for the purpose of seeking, distributing or receiving
child pornography as defined in 18 U.S.C. § 2256(8) or visual depictions of minors
engaged in sexually explicit conduct as defined in 18 U.S.C. § 225 6(2).

6, Any and all notes, documents, records, or correspondence, in any
format or medium (including envelopes, letters, papers, email messages, chat logs
and electronic messages, and handwritten notes), identifying persons transmitting,
through interstate or foreign commerce by any means (including the United States

Mail or computer) any child pornography as defined in 18 U.S.C. § 2256(8) or any

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visual depictions of minors engaged in sexually explicit conduct, as defined in 18
U.S.C..8 2256(2),

7. Any and all notes, documents, records, or correspondence, in any
format or medium (including envelopes, letters, papers, email messages, chat logs
and electronic messages, other digital data files and web cache information)
concerning the receipt, transmission, or possession of child pornography as
defined in 18 U.S.C. § 2256(8) or visual depictions of minors engaged in sexually
explicit conduct, as defined in 18 U.S.C. § 2200(2),

8. Any and all notes, documents, records, or correspondence, in any
format or medium (including envelopes, letters, papers, email messages, chat logs
and electronic messages, and other digital data files) concerning communications
between individuals about child pornography or the existence of sites on the
Internet that contain child pornography or that cater to those with an interest in
child pornography.

9, Any and all notes, documents, records, or correspondence, in any
format or medium (including envelopes, letters, papers, email messages, chat logs
and electronic messages, and other digital data files) concerning membership in
online groups, clubs, or services that provide or make accessible child pornography
to members.

10. Any and all records, documents, invoices and materials, in any

format or medium (including envelopes, letters, papers, email messages, chat logs

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and electronic messages, and other digital data files) that concern any accounts
with an internet service provider.

11. Any and all records, documents, invoices and materials, in any
format or medium (including envelopes, letters, papers, email messages, chat logs
and electronic messages, and other digital data files) that concern online storage
or other remote computer storage, including software used to access such online
storage or remote computer storage, user logs or archived data that show
connection to such online storage or remote computer storage, and user logins and
passwords for such online storage or remote computer storage.

12, Any and all cameras, film, videotapes or other photographic
equipment capable of being used to produce, manufacture, store and/or conceal
visual depictions of minors engaged in sexually explicit conduct as defined in 18
U.S.C, § 2256(2),

13. Any and all address books, mailing lists, supplier lists, mailing
address labels, and any and all documents and records, in any format or medium
(including envelopes, letters, papers, email messages, chat logs and electronic
messages, and other digital data files), pertaining to the preparation, purchase, and.
acquisition of names or lists of names to be used in connection with the purchase,
sale, trade, or transmission, through interstate or foreign commerce by any means
(including the United States Mail or computer) any child pornography as defined
in 18 U.S.C. § 2256(8) or any visual depiction of minors engaged in sexually

explicit conduct, as defined in 18 U.S.C. § 2256(2).

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14. Any and all documents, records, or correspondence, in any format
or medium (including envelopes, letters, papers, email messages, chat logs and
electronic messages, and other digital data files), pertaining to occupancy or
ownership of the premises described above, including rental or lease agreements,
mortgage documents, rental or lease payments, utility and telephone bills, mail
envelopes, or addressed correspondence.

15. Any and all diaries, notebooks, notes, and any other records
reflecting personal contact and any other activities with minors visually depicted
while engaged in sexually explicit conduct, as defined in 18 U.S.C. § 2256(2).

16. Any and all documents, records, or correspondence, in any format
or medium (including envelopes, letters, papers, email messages, chat logs and
electronic messages, and other digital data files), pertaining to the identity of any
and all owners and/or users of any computers, computer media and any electronic
storage devices discovered in the premises and capable of being used to produce,
manufacture, store and/or conceal visual depictions of minors engaged in sexually
explicit conduct as defined in 18 U.S.C. § 2256(2).

17, Any documents, records, programs or applications relating to the
existence of wiping, data elimination, and/or counter-forensic programs (and

associated data) that are designed to delete data from the subject computers and

computer media.

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AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means 0 Original ( Duplicate Original

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

In the Matter of the Search of
(Briefly describe the property to be searched
or identify the person by name and address)
The residence located at 606 Park Avenue, Apartment
604, Orange Park, Florida 32073, as further described
in Attachment A

Case No, 3:21-mj- 487-JRK

WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the Middle District of Florida

 

(identify the person or describe the property to be searched and give its location):
the residence located at 606 Park Avenue, Apartment 604, Orange Park, Florida 32073, as further described in Attachment A.

| find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B.

YOU ARE COMMANDED to execute this warrant on or before 3 - 1 a - 262\ (not to exceed 14 days)
@ in the daytime 6:00 a.m. to 10:00 p.m. Oat any time in the day or night because good cause has been established.

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to James R. Klindt
(United States Magistrate Judge)

 

QO Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

O for days (not to exceed 30) © until, the facts justifying, the later specific date of

Date and time issued: B-\\ ~202\ axe {oO 22.Y Aw), q Crayne a . K Lt

 

 

 

Judge's signature

 

City and state: Jacksonville, Florida farmes R. Klindt, United States Magistrate Judge
Printed name and title

 
 

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AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means (Page 2)

 

Return

 

Case No.: , Date and time warrant executed: Copy of warrant and inventory left with:
s2tmi- [9SZ-IRK

Inventory made in the presence of :

 

 

 

 

Inventory of the property taken and name(s) of any person(s) seized:

Certification:
| declare under penalty of perjury that this inventory is correct and was returned electronically along with the warrant to the
designated judge pursuant to Fed. R. Crim. P. 4.1 and 41(f)(1)(D).

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date:

 

Executing officer's signature

 

Printed name and title

 

 

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ATTACHMENT A

RESIDENCE TO BE SEARCHED

 

The residence to be searched is an apartment residence located at 606 Park
Avenue, Apartment 604, Orange Park, Florida 32073, and within the community
referred to as “Promenade Park Apartments.” The apartment complex can be accessed
by turning into its entrance from Park Avenue. Building 6 is located in the back of the
apartment complex and it is the last building on the left after turning into the first
entrance road of the apartment complex. Building 6 is a two-story, multi-unit, tan
colored building with brown colored shingles on the roof. On its exterior, there is a
sign that reads “6” affixed to the center of the building. There are 12 apartments in
Building 6 and multiple windows can be seen from the parking lot. ‘There is a sidewalk
that leads to tan colored stairs from the parking lot. The tan colored stairs lead to the
second floor, directly in front of Apartment 604. The front door to Apartment 604 can
be seen from the parking lot and faces west. It is a dark colored door and has a silver
kick plate on the bottom of it. The door handle and dead bolt are located on right side
of the door. The numbers “604” are black in color and located above the front door of

the apartment.

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ATTACHMENT B

DESCRIPTION OF ITEMS TO BE SEARCHED AND SEIZED

1. Any and all computer(s), computer hardware, computer software,
electronic storage media (including any and all disk drives, compact disks, flash
drives, cellular telephones, “smart” phones such as an Apple iPhone or a mobile
device using the Android operating system, electronic tablets such as an Apple
iPad or a tablet using the Android operating system, digital cameras and/or
memory cards, or any other device capable of electronic storage of data and/or
images), computer-related documentation, computer passwords and data-security
devices, videotapes, video-recording devices, video-recording players, and video
display monitors that are or may be used to: visually depict child pornography or
child erotica; display or access information pertaining to a sexual interest in child
pornography; display or access information pertaining to sexual activity with
children; or distribute, possess, or receive child pornography or child erotica.

oe Any and all computer software, including programs to run operating
systems, applications, such as word processing, graphics, and communications
programs peer to peer software, that may be or are used to: visually depict child
pornography (any visual depiction of minors engaged in sexually explicit conduct,
as defined in 18 U.S.C. § 2256(2)) or child erotica, display or access information
pertaining to a sexual interest in child pornography; display or access information
pertaining to sexual activity with children; or distribute, possess or receive child

pornography or child erotica.

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a Any and all notes, documents, records, or correspondence, in any
format and medium (including envelopes, letters, papers, email messages, chat
logs and electronic messages, and handwritten notes) pertaining to the possession,
receipt, eanapeleation, distribution or seeking of child pornography as defined in
18 U.S.C. § 2256(8) or to the possession, receipt, transportation, distribution or
seeking of visual depictions of minors engaged in sexually explicit conduct as
defined in 18 U.S.C. § 2256(2).

4. In any format and medium, all originals, computer files, copies, and
negatives of child pornography as defined in 18 U.S.C. § 2256(8), visual depictions
of minors engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2),
or child erotica.

3. Any and all diaries or address books containing names or lists of
names and addresses of individuals who have been contacted by use of the
computer(s) or by other means for the purpose of seeking, distributing or receiving
child pornography as defined in 18 U.S.C. § 2256(8) or visual depictions of minors
engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2).

6. Any and all notes, documents, records, or correspondence, in any
format or medium (including envelopes, letters, papers, email messages, chat logs
and electronic messages, and handwritten notes), identifying persons transmitting,
through interstate or foreign commerce by any means (including the United States

Mail or computer) any child pornography as defined in 18 U.S.C. § 2256(8) or any

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visual depictions of minors engaged in sexually explicit conduct, as defined in 18
U.S.C. § 2256(2).

hes Any and all notes, documents, records, or correspondence, in any
format or medium (including envelopes, letters, papers, email messages, chat logs
and electronic messages, other digital data files and web cache information)
concerning the receipt, transmission, or possession of child pornography as
defined in 18 U.S.C. § 2256(8) or visual depictions of minors engaged in sexually
explicit conduct, as defined in 18 U.S.C. § 2256(2).

8. Any and all notes, documents, records, or correspondence, in any
format or medium (including envelopes, letters, papers, email messages, chat logs
and electronic messages, and other digital data files) concerning communications
between individuals about child pornography or the existence of sites on the
Internet that contain child pornography or that cater to those with an interest in
child pornography.

9. Any and all notes, documents, records, or correspondence, in any
format or medium (including envelopes, letters, papers, email messages, chat logs
and electronic messages, and other digital data files) concerning membership in
online groups, clubs, or services that provide or make accessible child pornography
to members.

10. Any and all records, documents, invoices and materials, in any

format or medium (including envelopes, letters, papers, email messages, chat logs
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and electronic messages, and other digital data files) that concern any accounts
with an internet service provider.

11. Any and all records, documents, invoices and materials, in any
format or medium (including envelopes, letters, papers, email messages, chat logs
and electronic messages, and other digital data files) that concern online storage
or other remote computer storage, including software used to access such online
storage or remote computer storage, user logs or archived data that show
connection to such online storage or remote computer storage, and user logins and
passwords for such online storage or remote computer storage.

12. Any and all cameras, film, videotapes or other photographic
equipment capable of being used to produce, manufacture, store and/or conceal
visual depictions of minors engaged in sexually explicit conduct as defined in 18
U.S.C. § 2256(2).

13. Any and all address books, mailing lists, supplier lists, mailing
address labels, and any and all documents and records, in any format or medium
(including envelopes, letters, papers, email messages, chat logs and electronic
messages, and other digital data files), pertaining to the preparation, purchase, and
acquisition of names or lists of names to be used in connection with the purchase,
sale, trade, or transmission, through interstate or foreign commerce by any means
(including the United States Mail or computer) any child pornography as defined

in 18 U.S.C. § 2256(8) or any visual depiction of minors engaged in sexually

explicit conduct, as defined in 18 U.S.C. § 2256(2).

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14. Any and all documents, records, or correspondence, in any format
or medium (including envelopes, letters, papers, email messages, chat logs and
electronic messages, and other digital data files), pertaining to occupancy or
ownership of the premises described above, including rental or lease agreements,
mortgage documents, rental or lease payments, utility and telephone bills, mail
envelopes, or addressed correspondence.

15. Any and all diaries, notebooks, notes, and any other records
reflecting personal contact and any other activities with minors visually depicted
while engaged in sexually explicit conduct, as defined in 18 U.S.C. § 2256(2).

16. Any and all documents, records, or correspondence, in any format
or medium (including envelopes, letters, papers, email messages, chat logs and
electronic messages, and other digital data files), pertaining to the identity of any
and all owners and/or users of any computers, computer media and any electronic
storage devices discovered in the premises and capable of being used to produce,
manufacture, store and/or conceal visual depictions of minors engaged in sexually
explicit conduct as defined in 18 U.S.C. § 2256(2).

17. Any documents, records, programs or applications relating to the
existence of wiping, data elimination, and/or counter-forensic programs (and

associated data) that are designed to delete data from the subject computers and

computer media.
